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          UNITED STATES COURT OF INTERNATIONAL TRADE

              BEFORE: THE HONORABLE TIMOTHY M. REIF

_________________________________________
                                         )
ZHEJIANG ZHOULI INDUSTRIAL CO.,          )
LTD.,                                    )
               Plaintiff,                )
                                         )                Court No. 22-00177
      v.                                 )
                                         )
UNITED STATES,                           )
                                         )
               Defendant.                )
_________________________________________)


                                     ORDER

       Upon consideration of the consent motion of MTD Products Inc       MTD

to intervene as a matter of right as defendant-intervenor in the above-captioned

action, it is hereby:

       ORDERED that said motion is GRANTED; and,

       ORDERED that MTD be entered as a defendant-intervenor in the above-

captioned action.


DATED: __________________
        August 22, 2022                              /s/ Timothy M. Reif
                                                    ______________________
         New York, NY                               Timothy M. Reif, Judge
